PROB 35 (ED/CA)
                  Case 1:10-cr-00269-AWI Document 40 Filed 10/30/14 Page 1 of 2
                                    Report and Order Terminating
                                   Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                   FOR THE


                               EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                        )
                                                      )
                             v.                       )
                                                      )       Docket No.: 0972 1:10CR00269-001
          GWC Valve International Inc                 )
                                                      )
                                                      )


On May 9, 2011, the above-named was placed on Probation for a period of five years.

The probationer has complied with the rules and regulations of Probation and is no longer in
need of supervision. It is accordingly recommended that the probationer be discharged from
supervision.


                                            Respectfully submitted,

                                            /s/ Lonnie E. Stockton

                                          LONNIE E. STOCKTON
                                  Supervising United States Probation Officer

Dated:            October 30, 2014
                  Bakersfield, California
                  LES:dk




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                                                                                                       Rev. 02/2014
                                                                         EARLY TERMINATION ~ ORDER (PROB35).DOTX
PROB 35 (ED/CA)
                  Case 1:10-cr-00269-AWI Document 40 Filed 10/30/14 Page 2 of 2

Re:        GWC Valve International Inc
           Docket No: 0972 1:10CR00269-001
           Report and Order Terminating
           Prior to Original Expiration Date




                                       ORDER OF COURT

Pursuant to the above report, it is ordered that GWC Valve International Inc be discharged
from Probation, and that the proceedings in the case be terminated.




IT IS SO ORDERED.

Dated: October 30, 2014
                                            SENIOR DISTRICT JUDGE




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                                                                                             Rev. 02/2014
                                                               EARLY TERMINATION ~ ORDER (PROB35).DOTX
